Case 2:91-cv-00589-CJC Document 680-2 Filed 07/10/20 Page 1 of 12 Page ID #:7532




                             EXHIBIT 7




                                     Exhibit 7
                                      0757
Case 2:91-cv-00589-CJC Document 680-2 Filed 07/10/20 Page 2 of 12 Page ID #:7533



 1   WILLIAM A. WEINISCHKE
     Bill.weinischke@usdoj.gov
 2   Senior Attorney
 3   Environmental Enforcement Section
     Environment & Natural Resources Division
 4   United States Department of Justice
     4 Constitution Square
 5   150 M Street, N.W., Suite 2.900
 6   Washington, D.C. 20002
     Telephone: (202) 514 4592
 7
     NICOLA T. HANNA
 8   United States Attorney for the
     Central District of California
 9
10   Attorneys for the United States of America

11
                                     UNITED STATES DISTRICT COURT
12                                  CENTRAL DISTRICT OF CALIFORNIA
13
14   UNITED STATES OF AMERICA, et al.,             )
                                                   )
15
                                                   )   Civil No. 91-CV-0589 (CJC)
16                    Plaintiff,                   )
                                                   )   DECLARATION OF RUSTY
17                                                 )   HARRIS-BISHOP IN SUPPORT OF THE
                 v.                                )   UNITED STATES’ MEMORANDUM OF
18
                                                   )   POINTS AND AUTHORITIES IN SUPPORT
19                                                 )   OF ITS MOTION FOR PARTIAL
     SHELL OIL COMPANY, et al.,                    )   SUMMARY JUDGMENT AS TO THE
20                                                 )   AMOUNT OF RECOVERABLE RESPONSE
21                    Defendants.                  )   COSTS

22
23
                              DECLARATION OF RUSTY HARRIS-BISHOP
24
            I, Rusty Harris-Bishop, pursuant to 28 U.S.C. § 1746, and based on my personal
25
     knowledge, declare and state the following:
26
            1.        I am currently employed by the United States Environmental Protection Agency
27
     (“EPA”) Region 9, in San Francisco, California. I was employed as an RPM from August 2006
28
     until March 2020. I am currently a Section Chief in the Superfund and Emergency Management


                               DECLARATION OF RUSTY HARRIS-BISHOP
                                               Exhibit 7
                                                0758
Case 2:91-cv-00589-CJC Document 680-2 Filed 07/10/20 Page 3 of 12 Page ID #:7534



 1   Division, supervising RPMs. In May 1985, I received a BS degree in Mechanical Engineering
 2   from North Carolina State University, and in August 2000 I received my MS in Environmental
 3   Management from the University of San Francisco.
 4          2.      During my employment at EPA, I have managed or have been involved with
 5   hazardous substance response actions at approximately eight (8) Superfund sites.
 6          3.      As an RPM , and continuing now as a Section Chief, I am responsible for
 7   coordinating, monitoring, or directing remedial or other actions conducted at Superfund sites
 8   pursuant to Section 104 of the Comprehensive Environmental Response, Compensation and
 9   Liability Act (“CERCLA”), 42 U.S.C. § 9604, and the National Contingency Plan (“NCP”), 40
10   C.F.R. Part 300.
11          4.      I am familiar with the NCP, and my responsibilities include ensuring that the
12   response actions performed are not inconsistent with the NCP.
13          5.      I was the RPM at the McColl Superfund Site (“Site”) from September 2006 to
14   March 2020 and have performed the duties listed in Paragraph 3 amongst other duties performed
15   at the Site. As RPM for the Site, and continuing now as a Section Chief, I have reviewed Site
16   files, including historic and recent technical data and reports. I also have traveled to the Site on
17   numerous occasions to personally observe Site conditions and oversee Site work currently being
18   performed by the Defendants. Therefore, I am familiar with, and have personal knowledge of,
19   the response actions conducted at the Site as well as on-going operation and maintenance of the
20   remedy.
21          6.      The McColl Superfund Site is located on 22 acres in the City of Fullerton, Orange
22   County, California. The Site is fenced and is located entirely within the boundaries of the Los
23   Coyotes Country Club. Surface use consists of in-bounds and out-of-bounds areas of the Lake
24   Nine portion of the country club’s 27-hole golf course. The northeast corner of the Site is
25   located at the intersection of Rosecrans Boulevard and Sunny Ridge Drive.
26          7.      From 1942-1946 the 22 acres served as a disposal site, during which time twelve
27   pits or sumps were dug and filled with a total estimated 72,600 cubic yards of petroleum refinery
28                                                      2
                             DECLARATION OF RUSTY HARRIS-BISHOP


                                                Exhibit 7
                                                 0759
Case 2:91-cv-00589-CJC Document 680-2 Filed 07/10/20 Page 4 of 12 Page ID #:7535



 1   waste. At the time the waste pits were created, the local area was sparsely populated. Refinery
 2   operations took place on land located to the north/northwest of the Site. Subsequently, the golf
 3   course, then residences, were built on adjacent land. (Ex. 11 at 1000.)
 4           8.       The Site was included on the EPA National Priorities List in September 1983.
 5   (Federal Register Notice, Volume 48, No. 175, September 8, 1983, pp. 40658-40673.)
 6   Following the State of California Department of Toxic Substances, EPA became the lead
 7   oversight agency for the Site on November 2, 1989. (Ex. A attached hereto.)
 8           9.       EPA divided the McColl Superfund Site into two operable units (“OUs”): the
 9   Source OU and the Groundwater OU. The Source OU addresses the threat posed by the
10   petroleum waste itself. The Groundwater OU addresses the threat posed by releases of
11   hazardous substances to groundwater from the petroleum waste. Separate Remedial
12   Investigations and Feasibility Studies were undertaken for the two OUs. The Source OU Record
13   of Decision (“ROD”) was signed on June 30, 1993 and the Groundwater OU ROD was signed on
14   May 15, 1996. (Ex. 11 at 0880; Ex. 12 at 1309.) An Explanation of Significant Differences for
15   the Groundwater OU was signed on September 1, 2005.
16           10.      At the Source OU, the following organic and inorganic chemicals of potential
17   concern (“COPCs”) were identified in samples of the petroleum waste and surrounding soil at
18   the Site:
19           Source OU
20           Organic COPCs and Concentration in micrograms/kilogram (ug/kg)
21               COPCs                     Waste Specific Sample Average Average, All Samples
22                                                                  (ug/kg)1                 (ug/kg)2
23               Methylene Chloride                                   15,814                    5,233
24               Benzene                                            226,428                    53,755
25               Ethylbenzene                                         57,404                   16,724
26               Toluene                                            166,179                    41,310
27
28                                                      3
                                DECLARATION OF RUSTY HARRIS-BISHOP


                                                Exhibit 7
                                                 0760
Case 2:91-cv-00589-CJC Document 680-2 Filed 07/10/20 Page 5 of 12 Page ID #:7536



 1            COPCs                       Waste Specific Sample Average Average, All Samples
 2                                                                 (ug/kg)1                 (ug/kg)2
 3            Xylenes                                              102,676                    31,283
 4            Acetone                                               36,333                    11,876
 5            2-Butanone                                              7,384                    5,568
 6            2-Methylnapthalene                                    99,031                    43,158
 7            Napthalene                                           143,313                    68,815
 8            Phenanthrene                                          58,550                    19,076
 9            bis(2-                                                52,050                    16,266
10            ethylhexyl)phthalate
11            tetrahydrothiophenes                                 198,923                    70,720
12            leachable sulfate                                    192,718                    41,821
13        1
              Each “layer” of the sumps was sampled. The worst-case layer, or the layer with the
14        highest quantifiable levels of the COPC, was used to calculate the “Waste Specific
15        Sample Average,” and all samples from that layer only were averaged to obtain this
16        number.
17        2
              In contrast, the “Average, All Samples” value was obtained by adding together all of the
18        results, the worst-case sample and all others and these were averaged out to obtain this
19        value.
20        Source OU pH concentration
21
                                              Waste Specific Sample           Average, All Samples
22
              pH                                                  1.73                             5.5
23
24
          Source OU
25
          Inorganic COPCs and Concentrations in mg/kg
26
27
28                                                    4
                             DECLARATION OF RUSTY HARRIS-BISHOP


                                              Exhibit 7
                                               0761
Case 2:91-cv-00589-CJC Document 680-2 Filed 07/10/20 Page 6 of 12 Page ID #:7537



 1           COPCs                 Average, All Samples
 2                                 (mg/kg)
 3           Antimony              15.1
 4           Arsenic               179.0
 5           Beryllium             0.35
 6           Cadmium               1.2
 7           Chromium              134.2
 8           Copper                4.2
 9           Lead                  14.6
10           Manganese             216.1
11           Mercury               0.05
12           Nickel                56.1
13           Tin                   5.2
14
             Vanadium              35.5
15
             Zinc                  50.1
16
            These tables are from the 1993 Source OU ROD. (Ex. 11 at 0890-0891.)
17
            11.     At the Source OU, the exposure pathways of concern evaluated for potential
18
     health risks were: 1) inhalation of volatile organic compounds (“VOCs”) emitted from the waste
19
     sumps; 2) inhalation of fugitive dust and inorganic compounds generated by wind erosion; 3)
20
     incidental ingestion of contaminated soil; 4) ingestion of contaminated garden vegetables; and 5)
21
     dermal contact with contaminated soil. (Ex. 11 at 0892; see also Ex. 24 at 2169, Ex. 25 at 2711,
22
     Ex. 26 at 3172, Ex. 27 at 3233, Ex. 28 at 3241.)
23
            12.     At the Groundwater OU, the following organic and inorganic chemicals of
24
     potential concern (COPCs) were identified in groundwater at the Site:
25
             THIOPHENES               Tetrahydrothiophene
26                                    2-methyltrahydrothiophene
                                      3 -methyltrahydrothiophene
27
28                                                      5
                            DECLARATION OF RUSTY HARRIS-BISHOP


                                               Exhibit 7
                                                0762
Case 2:91-cv-00589-CJC Document 680-2 Filed 07/10/20 Page 7 of 12 Page ID #:7538



 1           Volatile Organic         Acetone                         Ethylbenzene
             Compounds (VOCs)         Benzene                         2-hexanone
 2                                    2-butanone                      Methylene Chloride
 3                                    Carbon Disulfide                Toluene
                                      Chloroform                      Xylenes
 4                                    1 ,2-dichloroethane
             Semi-Volatile            Bis (2-ethylhexyl) phthalates
 5
             Organic Compounds Butylbenzylphthalate
 6           (S VOCs)                 Dimethylphthalate
                                      Di-n-butylphthalate
 7                                    Isophorone
                                      2-Methyiphenol
 8
                                      Nitrobenzene
 9                                    Phenol
                                      Pyrene
10           INORGANICS               Aluminum                        Lead
11                                    Arsenic                         Manganese
                                      Barium                          Mercury
12                                    Beryllium                       Nickel
                                      Cadmium                         Selenium
13                                    Chromium                        Thallium
14                                    Cobalt                          Vanadium
                                      Copper                          Zinc
15          (Ex. 12 at 1294; see also Ex. 38 at 4929, Ex. 39 at 5689-5735, Ex. 14 at 1664.)
16          13.     As an RPM, and continuing now as a Section Chief, I am familiar with, and have
17   personal knowledge of the term “hazardous substance,” as defined by CERCLA Section
18   101(14), 42 U.S.C. § 9601(14). The substances referenced in ¶¶ 10 and 12, which were found at
19   the Site, are hazardous substances within the meaning of § 10 (14) of CERCLA, 42 U.S.C. §
20   9601(14) and 40 C.F.R. § 302.4.
21          14.     The Source OU ROD was signed on June 30, 1993. Following extensive testing
22   of solidification, EPA concluded that the technology selected was not feasible for the site and
23   selected the contingency remedy, a RCRA-equivalent closure system. The contingency remedy
24   included: 1) constructing a multi-layer cap over the untreated sumps with a gas collection and
25   treatment system to prevent infiltration of water and release of hazardous air emissions; 2)

26   building subsurface walls around the sumps to prevent migration of water into the waste and
     outward migration of water soluble and gaseous contaminants; 3) stabilizing steep slopes on the
27
28                                                     6
                             DECLARATION OF RUSTY HARRIS-BISHOP


                                               Exhibit 7
                                                0763
Case 2:91-cv-00589-CJC Document 680-2 Filed 07/10/20 Page 8 of 12 Page ID #:7539



 1   site with retaining walls; and 4) monitoring groundwater. Operations and maintenance of the cap
 2   and slurry wall, gas collection and treatment system, and site security are necessary in perpetuity

 3   at the site. (Ex. 11 at 0880.)

 4           15.     The Groundwater OU ROD was signed on May 15, 1996. The groundwater
 5   remedy required that infiltration of water into the ground be reduced through redirection of
 6   surface water off the site, grading of areas adjacent to the containment system, and lining of

 7   onsite drainage channels with low permeability materials. The groundwater remedy stipulated
     continuing groundwater monitoring with implementation of institutional controls should certain
 8
     criteria be exceeded. (Ex. 12 at 1285.)
 9
10           16.     An Explanation of Significant Differences (ESD) to the Groundwater OU ROD

11   was signed on September 1, 2005. The ESD modified the Groundwater ROD based on a finding
     from the 2002 Five-Year Review that the use of tetrahydrothiopenes (THTs) as a chemical
12
     trigger for groundwater institutional controls was not optimal. Benzene is a more appropriate
13
     chemical trigger to predict movement of the COPCs in groundwater. In the future, if benzene is
14
     found at specified levels outside the Site’s boundaries, the ESD requires immediate initiation of a
15
     revised risk assessment and the potential for additional remedial actions.
16
             17.     Based on my review of the Site file, the following contractors performed response
17
     activities or supported our response activities at the Site: 1) U.S. Department of Health and
18
     Human Services (ATSDR); 2) CH2M Hill; 3) ICF Technology, Inc.; 4) Bechtel Environmental
19
     Inc.; 5) CET Environmental Services; 6) Roy F. Weston; 7) U.S. Army Corps of Engineers; 8)
20   Techlaw, Inc.; 9) Federal Express; 10) PEI Associates, Inc.; 11) ACZ Inc Lab Div; 12)
21   PRC/SSC; 13) Science Applications International Corp.; 14) Edward Aul & Associates, Inc.; 15)
22   Ronson Management Corporation; 16) California Newspaper Services Bureau, Inc.; 17) Dun and
23   Bradstreet; 18) Government Printing Office; 19) ASRC Aerospace Corp.; 20) Labat-Anderson
24   Incorporated; 21) Armstrong Data Services, Inc.; 22) California Department of Toxic Substances

25   Control; 23) Ecology and Environment, Inc.; 24) ICF Incorporated; 25) GRB Environmental
     Services; 26) Toeroek - Herndon Joint Venture; 27) Daily Journal Corp.; 28) Bakersfield
26
     California Newspaper; and 29) Contract Lab Program.
27
28                                                     7
                              DECLARATION OF RUSTY HARRIS-BISHOP


                                               Exhibit 7
                                                0764
Case 2:91-cv-00589-CJC Document 680-2 Filed 07/10/20 Page 9 of 12 Page ID #:7540



 1          18.      Construction activities to implement the groundwater remedial action began in
 2   July 1996, with the official onsite construction date of March 31, 1997, and were completed in

 3   November 1997. These activities included the following: 1) Installation of Subsurface Cut-off
     Walls; 2) Installation of an Impermeable Cover; 3) Grading to Facilitate Surface Water Control;
 4
     4) Erosion Control Measures; 5) Building a Gas Collection and Treatment Plant; and 6) Golf
 5
     Course Restoration Activities. (See Five Year Review September 30, 2002.)
 6
 7          19.      On November 13, 1997, EPA and the California DTSC conducted a final
     inspection of the construction of the McColl Superfund Site. EPA determined that construction
 8
     had been completed according to specifications and the remediation had been successfully
 9
     implemented. In April 1998, EPA approved the Final Remedial Action Report for the McColl
10
     Site. On June 30, 1998, EPA signed the Superfund Closeout Report for the Site. This Final Close
11
     Out Report documents that all remedial activities for the McColl Superfund Site (Operable Unit
12   1 - Source and Operable Unit 2 - Groundwater) have been completed in accordance with Close-
13   out Procedures for National Priorities List Sites (interim Final) (OSWER Directive 9320.2-09,
14   August 1995).
15
            20.      Additional components of the remedy beyond physical construction include
16   institutional controls and long-term monitoring. Institutional controls have been implemented as
17   part of the Source OU remedy, and the Groundwater OU contains the option for groundwater
18   institutional controls should certain criteria be met.
19
            21.      Operation and Maintenance (“O&M”) chiefly consists of three categories of tasks:
20   operation and maintenance of the gas collection and treatment system; inspection of the cap and
21   retaining walls, maintenance of ground cover, and site security; and collection of groundwater
22   monitoring data for use in evaluating the groundwater remedy.
23
            22.      From March 2000 through September 2002, O&M was performed by the federal
24   government using funds provided by an Interim Settlement Agreement between the federal
25   government and the Defendants. Since September 2002, the Defendants have been performing
26   O&M activities, with EPA oversight.
27
28                                                       8
                              DECLARATION OF RUSTY HARRIS-BISHOP


                                                 Exhibit 7
                                                  0765
Case 2:91-cv-00589-CJC Document 680-2 Filed 07/10/20 Page 10 of 12 Page ID #:7541




                                      Exhibit 7
                                       0766
      Case 2:91-cv-00589-CJC Document 680-2     SFUNDFiled 07/10/20
                                                     RECORDS   CTR Page 11 of 12 Page ID #:7542
   -     . -V
STATE ©F^CALIFORNIA—HEALTH AND WELFARE AGENCY
                                              ,      88107871                   SFUND RECORDS CTR
                                                                                    1654-91841
DEPARTMENT OF HEALTH SERVICES
714/744 P STREET
P.O. BOX 942732
SACRAMENTO, CA     94234-7320


 (916) 323-2913
                                                                              AR2416
                                              wnv o 2 1989

          Mr. Jeff Zelikson, Chief
          Toxics & Waste Management Division
          USEPA, Region 9
          215 Fremont Street
          San Francisco, CA 94105

          Dear Mr. Zelikson:

          In keeping with Superfund's new emphasis on enforcement, and
          reflective of your agency's traditional role as lead in enforcement
          activities, the State will transition lead role responsibility for
          the McColl project to Environmental Protection Agency effective
          December 1, 1989. I believe that such a transition will allow the
          agencies to complete the remedy selection process while minimizing
          potential for schedule delays brought about by differences in State
          and Federal requirements.

          As a result of this transition and the shift to responsible parties
          carrying out activities, the State's roles and responsibilities (as
          currently defined in the McColl Cooperative Agreement) will be re­
          negotiated, and a new Action Plan will be prepared to reflect such
          changes. As in the past, however, I anticipate that the State will
          continue its active role in the remediation of the McColl site.

          If you have any questions regarding this matter, please contact
          Mr. Ted Rauh of my staff at (916) 324-7193.

                                                           Sincerely,



                                                   I  C. David Willis
                                                   Q^>Beputy Director
                                                      Toxic Substances Control Program



          cc:       Ted Rauh, Chief
                    DHS/TSCP
                    Program and Administrative
                      Support Division

                    Jan Meyer, Manager
                    DHS/TSCP
                    Special Projects Team


                                               Exhibit 7
                                                0767
                                                                   lust- lit V/
Case 2:91-cv-00589-CJC Document 680-2 Filed 07/10/20 Page 12 of 12 Page ID #:7543




                                                                                     ,\R


                                      HWMD
                                   ROUTING SLIP
                                DIRECTOR'S OFFICE
                 *«»•
                                             Date:              4)/L&
                 H-1
                 H-1
                                ZELIKSON
                                KOHNERT
                                                       Director         at
                                                       Aotlng Deputy Dir.
                  H-1           KAHAN                  Program Analyst
                  H-1-A         DALLAS                 Admin. Analyst
                  H-1-1         COOPER                 Community Rets.
                  H-1-B         PPT LEAD PERSON
                  H-1            OTHERS

                    HEALTH AND EMERGENCY PLANNING
                 H-1-2           SHIMMIN               Office Chief
                 H-1-2           OTHERS

                           WASTE PROGRAMS
                 H-2             VAILLE                Assistant Director.
                 H-3             FEELEY                State Program
                 H-4             SCHWINN               Waste Compliance.
                 H-2-1           YUNKER                Underground Tank.
                 H-2             OTHERS

                        SUPERFUND PROGRAMS
                  -5            -etiFFOinr             Assistant Director
              g*-H- 6            JONES                 $F Remedial
              ZH-7               STRAUSS hom           $F Enforcement «
                                                       Field Operations
              -XH-i-i            WHITE
                                 OTHERS

            NOTES:
                                  :ol                                   (JrtL.
                          •&>
                                                                        J'S
                                                                      10/89


                                                                                 !




                                           Exhibit 7
                                            0768
